          Case 2:20-cv-01971-RDP Document 24 Filed 02/25/21 Page 1 of 3                                                FILED
                                                                                                              2021 Feb-25 PM 06:07
                                                                                                              U.S. DISTRICT COURT
                                                                                                                  N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION



    UNITED STATES OF AMERICA,

                             Plaintiff;
               v.                                                 CIVIL ACTION NO.
                                                                  2:20-cv-01971-RDP
    STATE OF ALABAMA and ALABAMA
    DEPARTMENT OF CORRECTIONS,                                            JOINT

                             Defendants.



               JOINT MOTION TO STAY RULE 26 INITIAL CONFERENCE

        The Parties to this action seek a four week stay of all pretrial scheduling and discovery

obligations, including the Rule 26 scheduling conference, to permit the Parties to assess the

possibility of resolving this action through a mediated agreement. Currently, the deadline for

the Parties’ Rule 26 scheduling conference is February 26, 2021. (Doc. 18, ¶ 1). Rather than

discussing the form and scope of discovery, the Parties seek a brief stay to see if they can

amicably resolve the claims and issues in this action with an experienced mediator, U.S.

Magistrate Judge John Ott. Therefore, the Parties respectfully move this Court, pursuant to

Rule 7(b) of the Federal Rules of Civil Procedure, to issue an order staying all pretrial

scheduling and discovery obligations, including the deadline for the Rule 26 scheduling

conference, until March 26, 2021. The Parties will continue to abide by the scheduling

order, dated February 17, 2021, related to the State’s motion to dismiss. (Doc. 22). 1



1
  Nothing in this Joint Motion to Stay is intended to preclude or will preclude any Party from seeking or opposing
any future motion to stay all or any portion of this action.



                                                        1
        Case 2:20-cv-01971-RDP Document 24 Filed 02/25/21 Page 2 of 3




Date: February 25, 2021

                                                Respectfully submitted,

FOR THE UNITED STATES OF AMERICA:


 PAMELA S. KARLAN                                   WILLIAM R. CHAMBERS
 Principal Deputy Assistant Attorney General        Acting United States Attorney

 STEPHEN H. ROSENBAUM                               LANE H. WOODKE
 Chief                                              Chief, Civil Division

 KERRY DEAN                                         JASON R. CHEEK
 Deputy Chief                                       Deputy Civil Chief


                                                     /s Carla C. Ward
 DEENA FOX                                          CARLA C. WARD
 GEORGE EPPSTEINER                                  Assistant United States Attorney
 CURTIS HARRIS                                      United States Attorney’s Office
 Trial Attorneys                                    Northern District of Alabama
 United States Department of Justice                1801 Fourth Avenue North
 Civil Rights Division                              Birmingham, Alabama 35203
 Special Litigation Section                         (205) 244-2185
 950 Pennsylvania Ave, NW                           car1a.ward@usdoj.gov
 Washington, DC 20530
 (202) 258-3036
 kerry.k.dean@usdoj.gov


FOR STATE OF ALABAMA AND ALABAMA DEPARTMENT OF CORRECTIONS:


                                                   /s/ Matthew B. Reeves
                                                   William R. Lunsford
                                                   Matthew B. Reeves
                                                   Stephen C. Rogers
                                                   MAYNARD, COOPER & GALE, P.C.
                                                   655 Gallatin Street, S.W.
                                                   Huntsville, Alabama 35801
                                                   Telephone: (256) 551-0171
                                                   Facsimile: (256) 512-0119
                                                   blunsford@maynardcooper.com
                                                   mreeves@maynardcooper.com
                                                   srogers@maynardcooper.com


                                               2
        Case 2:20-cv-01971-RDP Document 24 Filed 02/25/21 Page 3 of 3




                               CERTIFICATE OF SERVICE


       I hereby certify that on February 25, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record.




                                                 Respectfully submitted,


                                                  /s Carla C. Ward
                                                 CARLA C. WARD
                                                 Assistant United States Attorney
                                                 United States Attorney’s Office
                                                 Northern District of Alabama
                                                 1801 Fourth Avenue North
                                                 Birmingham, Alabama 35203
                                                 (205) 244-2185
                                                 car1a.ward@usdoj.gov




                                                3
